Case 8:16-ap-01114-ES Doc19-1 Filed 10/04/16 Entered 10/04/16 17:25:35 Desc
Exhibit1 Page 1 of 4

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.Case 8:16-ap-01114-ES Doc19-1 Filed 10/04/16 Entered 10/04/16 17:25:35
Exhibit1 Page 2 of 4

MARCEREAU & NAZIF

Robert H, Matcereau (State Bar No. 211534) FILED

zn (State Bar No. 228949) SUPERIOR COURT TOF CALIF CALIFORNIA
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ALAN CARLSON, Clerk of the Court

Attorneys for Plaintiffs «ores
. BY K.CHU ez
ne
SUPERIOR COURT OF THE STATE OF CALIFORNIA
FOR THE COUNTY OF ORANGE
KELLI PETERS, et. al. CASE NO. 30-2012-00588580-CU-PO-CIC
Piaimifi, _ | VERDICT FORM
Vs.
. Trial Date: February 1, 2016
KENT W. EASTER ET. AL; and DOES 1 to | Dept: Ci2
100, inclusive,
Defendants.

Desc

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_Case 8:16-ap-01114-ES Doc19-1 Filed 10/04/16 Entered 10/04/16 17:25:35 Desc
‘ Exhibit1 Page 3 of 4

We the Jury answer the questions submitted to us as follows:

1. What are Kelli Peters’ damages for False Imprisonment?

$ 365,96¢
2, What are Kelli Peters’ damages for Intentional Infliction of Emotional Distress?

5 B90, 609

3. What are Bill Peters’ damages for Intentional infliction of Emotional Distress?

g 245,000

4. What are Sydnie Peters’ damages for Intentional infliction of Emotional Distress?

5 o99, py
5. Did Kent W. Easter engage in the conduct with malice, oppression, or fraud?

Yes No

{If your answer to question 5 is yes, then answer question 6, If you answered
no, move on to question 7.]

6, What amount of punitive damages, if any, do you award Plaintiffs jointly against Kent W.
Hoster?

g Fé anthon

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_Case 8:16-ap-01114-ES Doc19-1 Filed 10/04/16 Entered 10/04/16 17:25:35 Desc
’ “Exhibit1 Page 4of4

7. Did Fill B. Easter (aka Ava Easter, aka Ava Bjork, aka Ava Everheart) engage in the
leonduct with malice, oppression, or fraud?
, _ Yes _____. Ne
[if your answer to question 7 is yes, then answer question 8. If you answered
no, stop here, answer no further questions, and have the presiding juror sign and date
this form.]

8. What amount of punitive damages, if any, do you award Plaintifis jointly against Jill B.
Baster (ake Ava Easter, oka Ava Bjork, aka Ava Bverheart)?

$ 2.7 millran
Signed:
Presiding Furor
Dated: 2-55-16
After all verdict forms have been signed, notify the [clerk/bailiff/court attendant] that

you are ready to present your verdict ia the courtroom.

VERDICT FORM

